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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 20-10064-CIV-KING/REID

 ARNOLD BELL,

         Plaintiff,

 v.

 STATE OF FLORIDA, et al.,

       Defendants.
 ________________________________/

                                 FINAL ORDER OF DISMISSAL

         THIS CAUSE is before the Court on the October 21, 2020 Report and Recommendation

 (“R&R”) (DE 12) of Magistrate Judge Lisette M. Reid. Plaintiff’s objections were due by

 November 4, 2020; none were filed.

         The R&R recommends dismissing this case for lack of jurisdiction since Plaintiff’s

 Petition for Writ of Habeas Corpus (the “Petition”) pursuant to 28 U.S.C. § 2254 is an

 unauthorized “second or successive” petition. (See generally R&R). Upon consideration of the

 record and the R&R, the Court finds that Magistrate Judge Reid’s well-reasoned R&R accurately

 states the law of the case.

         Therefore, it is ORDERED, ADJUDGED and DECREED that:

      1. Magistrate Judge Lisette M. Reid’s Report and Recommendation (DE 12) be, and the

         same is, hereby AFFIRMED and ADOPTED as an Order of this Court;

      2. Plaintiff’s Complaint is hereby DISMISSED for lack of jurisdiction; and

      3. The Clerk of Court shall CLOSE this case.
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        DONE and ORDERED in Chambers at the James Lawrence King Federal Justice

 Building and United States Courthouse, Miami, Florida, this 6th day of November, 2020.




                                            _______________________________
                                            JAMES LAWRENCE KING
                                            UNITED STATES DISTRICT JUDGE
                                            SOUTHERN DISTRICT OF FLORIDA

 cc:    Magistrate Judge Lisette M. Reid
        All counsel of record
        Clerk of Court
        Arnold Bell, pro se




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